
29 N.Y.2d 798 (1971)
The People of the State of New York, Respondent,
v.
Joseph Stojek, Appellant.
The People of the State of New York, Respondent,
v.
Robert Kopec, Appellant.
Court of Appeals of the State of New York.
Argued October 21, 1971.
Decided November 18, 1971.
Charles J. Scibetta and Nathaniel A. Barrell for appellants.
Michael F. Dillon, District Attorney (Judith Blake Manzella of counsel), for respondent.
Concur: Chief Judge FULD and Judges BURKE, SCILEPPI, BERGAN, BREITEL, JASEN and GIBSON.
Orders reversed and a new trial ordered on the dissenting opinion at the Appellate Division.
